          Case 4:02-cr-00213-BRW Document 121 Filed 02/27/08 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

v.                                      4:02CR00213-01-WRW

CHRISTOPHER LAVELL McFADDEN


                       ORDER DENYING SENTENCE REDUCTION

       Pending are Defendant’s pro se Motion to Reduce Sentence (Doc. No. 117) and Motion

to Amend Brief in Support (Doc. No. 119). Defendant requests a reduction of his sentence under

18 U.S.C. § 3582(c)(2), based upon the retroactive application of the crack cocaine penalty

reduction imposed by the United States Sentencing Commission, effective March 3, 2008. After

reviewing the case, I find that Defendant is not entitled to a reduction of his sentence.

       Not every person sentenced for a crack cocaine offense is eligible for a sentence

reduction. Only those persons currently serving a sentence determined or affected by a

sentencing range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially

eligible. Even then, there are some defendants for whom the recalculated guideline range, using

amended § 2D1.1, will be equal to the original guideline range. In such cases, the defendant is

not entitled to a sentence reduction.

       Defendant was originally sentenced to a statutory maximum sentence of 108 months. His

original guideline range was 188-235 months. Following a Rule 35 motion by the Prosecution, I

determined that a 1/3 reduction was appropriate, and Defendant’s sentence was reduced to 72

months.

       Applying the amended version of § 2D1.1, Defendant’s recalculated guideline range is

151-188 months. A 1/3 reduction from 151 months is 101 months, which is greater than the 72

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        Case 4:02-cr-00213-BRW Document 121 Filed 02/27/08 Page 2 of 2




month sentence which was previously imposed. Additionally, both the original and recalculated

guideline ranges applicable in this case are greater than the statutory maximum sentence. Mr.

McFadden is serving a sentence determined by statute rather than the sentencing guidelines.

                                     CONCLUSION

       Since Defendant’s sentence is unaffected by the retroactive crack cocaine amendment to

§ 2D1.1, his Motion to Reduce Sentence (Doc. No. 117) is DENIED. The Motion to Amend

Brief (Doc. No. 119) is MOOT.

       IT IS SO ORDERED this 27th day of February, 2008.




                                                          /s/Wm. R. Wilson, Jr.
                                                    UNITED STATES DISTRICT JUDGE




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